









Dismissed and Opinion filed August 21, 2003









Dismissed and Opinion filed August 21, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-00389-CV

____________

&nbsp;

MARIA JOSEFA MARTINEZ, Appellant

&nbsp;

V.

&nbsp;

THE LIONS EYE BANK OF HOUSTON, TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 61st District Court

Harris County, Texas

Trial Court Cause No. 00-46855

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed March 7, 2003.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On July 22, 2003, notification was transmitted to all parties
of the Court's intent to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp;
See Tex. R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed August 21, 2003.

Panel consists of Justices Yates,
Hudson, and Fowler.

&nbsp;





